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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

SHARON F.,                                   )
                                             )
                            Plaintiff,       )     Case No.: 1:21-cv-02756
             v.                              )
                                             )     Honorable John J. Tharp, Jr.
CYNTHIA MARTIN, et al.,                      )
                                             )
                            Defendants.      )


             EXHIBITS TO DEFENDANT MARTIN’S LOCAL RULE 56.1
                           STATEMENT OF FACTS


   Exhibit                                       Description

      1           Plaintiff’s Deposition Transcript (May 21, 2024)

      2           Lake Forest High School New Employee Form (September 15, 1982)
                  (DISTRICT_000005)

      3           Lake Forest High School Resolution Authorizing Non-Renewal and Notice
                  of Nonemployment (Matin 032) and Termination Form (Martin 031, 033-
                  035)

      4           Defendant Cynthia Martin’s March 28, 2024, Answers to Plaintiff’s First
                  Set of Interrogatories

      5           Photographs of Plaintiff and Cindy (Martin 135-138)

      6           July 14, 1990, Letter from Plaintiff to Cindy (Martin 119-120)

      7           March 20, 1991, Postcard from Plaintiff to Cindy (Martin 118)

      8           Birthday Cards from Plaintiff to Cindy (October 31, 1991, November 6,
                  1994, and November 6, 1995) (Martin 141-146)

      9           Plaintiff                             (August 21, 2015)
                  (DISTRICT_000190)
